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                            Exhibit 39




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 1                       UNITED STATES DISTRICT COURT
 2                     CENTRAL DISTRICT OF CALIFORNIA
 3
 4
 5     YUGA LABS, INC.,                             )
 6                           Plaintiff,             )
 7              VS.                                 )      NO. 2:22-CV-04355
 8     RYDER RIPPS, JEREMY CAHEN,                   )           JFW-JEM
 9                           Defendants.            )
10     ______________________________)
11
12
13     DEPOSITION OF:
14                        JEREMY CAHEN
15                        WEDNESDAY, JANUARY 11, 2023
16                        9:18 A.M.
17
18
19
20     REPORTED BY:
21                        Sari M. Knudsen
22                        CSR No. 13109
23
24
25

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 1     remark or anything.    It's just very technical, and                9:51:00

 2     it's very confusing.    There's a lot of                            9:51:02

 3     misunderstandings about how all of this stuff works.                9:51:05

 4         Q     Have you sold RR BAYC NFT's through the                   9:51:09

 5     Ethereum blockchain?                                                9:51:11

 6         A     My answer is the same as it was before to                 9:51:13

 7     that question.                                                      9:51:15

 8         Q     What is the answer?                                       9:51:16

 9         A     The answer is that I cannot respond because               9:51:19

10     we would need a specific contract address.            Saying        9:51:22

11     RR BAYC NFT's is much too broad.                                    9:51:26

12         Q     Why?                                                      9:51:27

13         A     Because like I explained, on the                          9:51:29

14     blockchain, there could be a thousand things called                 9:51:33

15     RR BAYC NFT's.   And in order for me to identify one,               9:51:38

16     I would need a contract address.        Just like I would           9:51:41

17     need a wallet address to identify a wallet.                         9:51:43

18         Q     What is the contract address for the                      9:51:47

19     RR BAYC's?                                                          9:51:49

20         A     I don't have it memorized.                                9:51:50

21         Q     What is the first three alphanumeric --                   9:51:55

22         A     I don't have a single digit memorized.                    9:51:59

23         Q     What is the name of the token for the                     9:52:02

24     RR BAYC NFT's?                                                      9:52:06

25         A     I would have to check the block explorer to               9:52:08

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 1     explain to you.     I believe it's Bored Ape Yacht                  9:52:13

 2     Club.   And when I say "Bored Ape Yacht Club," what                 9:52:19

 3     I'm referring to very specifically is I believe that                9:52:21

 4     the name of the RR BAYC NFT contract that this                      9:52:28

 5     dispute is about is Bored Ape Yacht Club on                         9:52:34

 6     Etherscan.IO, E-T-H-E-R-S-C-A-N, dot IO.                            9:52:42

 7               On Etherscan.IO, there will be what is                    9:52:45

 8     called a token tracker for a given contract.             And        9:52:48

 9     that should have -- my recollection of that is that                 9:52:52

10     the name of that is Bored Ape Yacht Club on the                     9:52:55

11     Etherscan Ethereum blockchain Explorer.                             9:53:01

12               I'm going to have to try to speak slow                    9:53:02

13     because I take for granted that a lot of this stuff                 9:53:05

14     is very technical.                                                  9:53:06

15               But that's, you know -- that's what a lot                 9:53:09

16     of this is about.     We want to educate people about               9:53:11

17     how this stuff functions.                                           9:53:12

18         MR. BALL:     Madam court reporter, can you mark                9:53:14

19     as -- this is -- next exhibit as Exhibit 80.                        9:53:23

20               (Whereupon Plaintiff's Exhibit 80                         9:53:25

21               was marked for identification)                            9:53:29

22     BY MR. BALL:                                                        9:53:29

23         Q     Mr. Cahen, you have what has been marked as               9:53:36

24     Exhibit 80.                                                         9:53:37

25               Can you please identify Exhibit 80 for me?                9:53:42

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 1     correctly.    That's something that really offends me.              10:57:25

 2               My father was actually born fleeing Nazis                 10:57:26

 3     in Europe because Nazis had occupied France.             My         10:57:32

 4     father is French.    I'm half French.       Yeah, that's an         10:57:35

 5     ugly-looking symbol.                                                10:57:39

 6         Q     And you see there on the bottom there, it                 10:57:41

 7     says "Ryder Ripps," the mid bottom?                                 10:57:44

 8         A     I see that, yeah.                                         10:57:45

 9         Q     Okay.                                                     10:57:46

10         A     This is a very low resolution printout, for               10:57:48

11     whatever it's worth.                                                10:57:54

12         Q     And so Mr. Ripps is -- has a symbol that                  10:57:57

13     offends you on this website?                                        10:57:59

14         A     I don't -- this is not a website.           This is       10:58:02

15     a printout of something.      But yeah.     This -- I'm not         10:58:07

16     looking at a website right now.        I'm looking at a             10:58:11

17     piece of paper.                                                     10:58:11

18         Q     Sure.   It's a printout of a website.                     10:58:13

19         A     Oh, I don't feel comfortable with that                    10:58:16

20     definition.                                                         10:58:18

21         Q     Do you see on the upper right-hand                        10:58:21

22     corner -- you see that next to that "create" button?                10:58:27

23         A     Yes, I see -- I mean, like I said, this is                10:58:30

24     very low resolution.    It's -- this is a picture of                10:58:33

25     something printed on a piece of paper.          This is not         10:58:36

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 1     a website.                                                                10:58:36

 2         Q       Okay.     Have you seen that picture before?                  10:58:39

 3         A       I've never seen this picture, no.               The one       10:58:41

 4     that I'm looking at, I've never seen this.                                10:58:44

 5         Q       That's not what I'm after.                                    10:58:46

 6                 The picture next to the "create" logo -- or                   10:58:49

 7     button?                                                                   10:58:49

 8         A       That's way too low resolution for me to                       10:58:53

 9     even tell you what that is.                                               10:58:54

10         Q       Do you see underneath the Bored Ape Yacht                     10:59:00

11     Club logo, it says "BAYC"?                                                10:59:03

12         A       Yes, I can read those letters.                                10:59:05

13         Q       Okay.     What does that refer to?                            10:59:09

14         A       Without more context, I couldn't tell you.                    10:59:10

15     But when I think of BAYC, I think of something very                       10:59:14

16     specific.                                                                 10:59:17

17         Q       And you see below that, it says "Bored Ape                    10:59:19

18     Yacht Club."        Correct?                                              10:59:21

19         A       Yes.                                                          10:59:23

20         Q       It doesn't say Ryder Ripps Bored Ape Yacht                    10:59:25

21     Club?                                                                     10:59:28

22         A       What I'm looking at says "Bored Ape Yacht                     10:59:30

23     Club."                                                                    10:59:30

24         Q       It doesn't say RR BAYC?                                       10:59:33

25         A       What I'm looking at says "Bored Ape Yacht                     10:59:36

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 1     Club."                                                              10:59:37

 2         Q      And above that, it says "BAYC."          Not             10:59:40

 3     RR BAYC.    Correct?                                                10:59:42

 4         A      What I'm reading is the letters B-A-Y-C and              10:59:44

 5     below that, Bored Ape Yacht Club.                                   10:59:46

 6         Q      And you're familiar with the Foundation.app              10:59:53

 7     website?                                                            10:59:55

 8         A      I am familiar with that website, yes, sir.               10:59:58

 9         Q      And what is your familiarity with the                    11:00:00

10     website?                                                            11:00:00

11         A      I'm not sure what that question means.                   11:00:04

12         Q      You said you're familiar.                                11:00:05

13         A      Yes.                                                     11:00:06

14         Q      So --                                                    11:00:06

15         A      I know it exists, and I know people sell                 11:00:10

16     NFT's on that marketplace.      I sell NFT's on that                11:00:15

17     marketplace, like ones I've created myself.                         11:00:18

18         Q      Have you ever helped Mr. Ripps sell NFT's                11:00:22

19     on that marketplace?                                                11:00:22

20         A      I don't know how I would be able to help                 11:00:25

21     someone use their machine.      Like he would use his               11:00:27

22     own machine.                                                        11:00:30

23         Q      Is Mr. Ripps the only one who has sold                   11:00:34

24     RR BAYC NFT's on -- through Foundation?                             11:00:37

25         A      The word "sold" is a very like old term                  11:00:41

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 1         A     I don't have it memorized.                                11:40:20

 2         Q     What are -- what Twitter accounts do you                  11:40:26

 3     have?                                                               11:40:26

 4         A     Me?    Gosh, I have more than I can remember.             11:40:28

 5         Q     What is the one that you use in connection                11:40:32

 6     with the RR BAYC project?                                           11:40:34

 7         A     The -- I think the ones that are relevant                 11:40:35

 8     to litigation would be at -- at symbol Pauly,                       11:40:40

 9     P-A-U-L-Y, 0X.     And the other one would be at, at                11:40:49

10     symbol, Ape, A-P-E, Marketplace,                                    11:40:51

11     M-A-R-K-E-T-P-L-A-C-E.     Those two.                               11:40:58

12         Q     Does anyone else have control of the Ape                  11:41:00

13     Marketplace Twitter account?                                        11:41:02

14         A     I haven't used it in quite a while.            But my     11:41:04

15     understanding is that I'm the sole administrator of                 11:41:06

16     that account.                                                       11:41:08

17         Q     So anything posted on that account would                  11:41:12

18     be -- come from you?                                                11:41:13

19         A     Correct.    If my understanding is correct,               11:41:15

20     which is -- which is old.     Like I said, I haven't                11:41:18

21     used it in months.     But I don't recall anyone else               11:41:22

22     having control over that Twitter.        My understanding           11:41:24

23     is that it was 100 percent under my administration.                 11:41:27

24         Q     And what is the Ape Marketplace?                          11:41:32

25         A     In the context of the litigation?           I'm           11:41:38

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 1     asking you that question.      What is the Ape                      11:41:40

 2     Marketplace in the context of the litigation?                       11:41:42

 3         Q      You just referred to the Ape Marketplace.                11:41:44

 4     So --                                                               11:41:45

 5         A      Oh, that's a Twitter account that I'm                    11:41:47

 6     referring to.                                                       11:41:49

 7         Q      Does the Ape Marketplace refer to anything               11:41:52

 8     else in your understanding?                                         11:41:53

 9         A      In this specific context, it's referring to              11:41:55

10     a Twitter account.                                                  11:41:57

11         Q      Okay.   Anything else that the Ape                       11:41:59

12     Marketplace refers to?                                              11:42:00

13         A      It's not in this specific context.           It          11:42:02

14     could refer to other things outside of this specific                11:42:04

15     context.                                                            11:42:05

16         Q      Outside of this -- I'm not asking about                  11:42:06

17     just Twitter.                                                       11:42:09

18                In your knowledge, what does the Ape                     11:42:14

19     Marketplace refer to?                                               11:42:19

20         A      Ape Marketplace refers to a -- a NFT -- a                11:42:25

21     nonfungible token marketplace that was in                           11:42:29

22     development prior to being sued by Yuga Labs.                       11:42:33

23         Q      Okay.   And what nonfungible tokens were                 11:42:37

24     planned to be sold on the Ape Marketplace?                          11:42:39

25         MR. TOMPROS:     Object.   Vague.                               11:42:41

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  1    answering the question.                                                  11:49:49

  2         Q      Which is just does Mr. Ripps -- the URI                      11:49:55

  3    that he uses -- that you said he uses for part of                        11:49:58

  4    his project, link to or refer to --                                      11:50:04

  5         A      I didn't say that he uses it.                                11:50:06

  6         MR. TOMPROS:       Hold on.     Let him finish the                  11:50:07

  7    question.                                                                11:50:07

  8         THE WITNESS:       Pardon.    You can go ahead.                     11:50:09

  9    BY MR. BALL:                                                             11:50:10

 10         Q      Who -- you referred to Mr. Ripps's URI as                    11:50:13

 11    part of --                                                               11:50:14

 12         A      No.                                                          11:50:14

 13         Q      Okay.     What is the URI as part of the                     11:50:16

 14    RR BAYC nonfungible token?                                               11:50:18

 15         A      It's an image resolver that's part of a                      11:50:22

 16    token smart contract.                                                    11:50:23

 17         Q      Okay.                                                        11:50:23

 18         A      I never said that it was his.            It's part of        11:50:25

 19    the token.        It is -- it is involved with the art                   11:50:29

 20    project.                                                                 11:50:29

 21         Q      Okay.                                                        11:50:29

 22         A      That's for sure.                                             11:50:31

 23         Q      So the URI involved with the RR BAYC art                     11:50:37

 24    project --                                                               11:50:37

 25         A      Yeah.     Sure.   Go ahead.                                  11:50:38

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  1         Q       -- that points to the same images that BAYC               11:50:42

  2    uses --                                                                11:50:42

  3         A       Yes.                                                      11:50:43

  4         Q       -- that you say are racist?                               11:50:44

  5         A       Yeah.    That's the whole point of the                    11:50:47

  6    project is to draw attention to Neo-Nazism, racism,                    11:50:51

  7    pedophilia, financial fraud, Yuga Labs, Ape Coin,                      11:50:55

  8    Fenwick & West and FTX, who are all business                           11:50:59

  9    partners, as well as OpenSea.                                          11:51:02

 10         Q       Was another point of the project to save                  11:51:05

 11    Yuga Labs' NFT holders' money?                                         11:51:09

 12             A     It was an idea that was discussed.            And       11:51:10

 13    I'm a big fan of helping decentralized web users not                   11:51:14

 14    have to give their hard-earned finances to                             11:51:17

 15    centralized, corrupt entities such as Yuga, OpenSea,                   11:51:22

 16    Ape Coin, Fenwick & West and FTX.                                      11:51:26

 17         MR. BALL:       I'm going to reserve an objection                 11:51:29

 18    here for the repeated, you know, soliloquy from                        11:51:34

 19    Mr. Cahen that if he's wasting my time and my time                     11:51:37

 20    on the record, that we will ask the court for more                     11:51:40

 21    time if he's going to have a standard soliloquy over                   11:51:44

 22    and over again that he's testified to.                                 11:51:46

 23                 So that is nonresponsive to the question.                 11:51:48

 24         MR. TOMPROS:       So to be clear, we disagree that               11:51:50

 25    was nonresponsive to the question.            The question was         11:51:53

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  1    subversive racist, Nazi and pedophile-themed hatred                    6:40:02

  2    that's imbued in the work of Yuga Labs.                                6:40:08

  3         Q    And it says here that you should --                          6:40:10

  4    Mr. Lehman said,                                                       6:40:11

  5                      "My only vibe from last night is that                6:40:15

  6              we should not underestimate how confusion."                  6:40:22

  7         A    Which line is that?                                          6:40:24

  8              Oh, I see here.                                              6:40:26

  9              Yeah.     I see what that says.       It's unclear           6:40:30

 10    what that means.                                                       6:40:31

 11         Q    And you say "Yeah."                                          6:40:32

 12         A    Yeah, I said "Yeah."                                         6:40:34

 13         Q    Did you do anything there to address                         6:40:36

 14    Mr. Lehman's concern about underestimating                             6:40:38

 15    confusion?                                                             6:40:40

 16         A    Where do you see him saying I am concerned?                  6:40:42

 17         Q    His statement that he's -- "we should not                    6:40:47

 18    underestimate how confusion."                                          6:40:49

 19         A    But he -- I see that he says that.             But           6:40:51

 20    what I don't see is where he expresses concern.                You     6:40:54

 21    are saying that, but these are not Tom Lehman's                        6:40:56

 22    words.                                                                 6:40:57

 23         Q    He said -- his words are "should not                         6:41:00

 24    underestimate how confusion."                                          6:41:03

 25         A    Yeah.     That's not concern in my opinion.            I     6:41:05

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  1                I, SARI M. KNUDSEN, CSR NO. 13109, in and
  2    for the State of California, do hereby certify:
  3                I am the deposition officer that
  4    stenographically recorded the testimony in the
  5    foregoing deposition;
  6                Prior to being examined, the deponent was
  7    first duly sworn by me;
  8                The foregoing transcript is a true record of
  9    the testimony given;
 10                 Before completion of the deposition, review
 11    of the transcript was requested.                If requested, any
 12    changes made by the deponent (and provided to the
 13    reporter) during the period allowed are appended
 14    hereto.
 15
 16    Dated the 1st day of February, 2023.
 17
 18
 19
 20
                         <%20181,Signature%>
 21                      SARI M. KNUDSEN, CSR NO. 13109
 22
 23
 24
 25

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